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                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                          No: 20-1102

                                    United States of America

                                                     Appellee

                                                v.

                            Loren Allen Copp, also known as Sensei

                                                     Appellant


______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                  (4:16-cr-00159-AGF-1)
______________________________________________________________________________

                                             ORDER

       The transcripts have now been filed in the district court; accordingly, on the court’s own

motion appellant’s brief deadline is extended to April 15, 2020.



                                                      March 23, 2020




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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